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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
 JILL STEIN, et al.,                               :
                                                   : CIVIL ACTION
                                                   :
                               Plaintiffs,
                                                   :
                       v.                          : No. 16-cv-6287(PD)
 KATHY BOOCKVAR, in her official capacity          :
 as Secretary of the Commonwealth, and             :
 JONATHAN MARKS, in his official capacity          :
 as Commissioner of the Bureau of                  :
 Commissions, Elections and Legislation,           :
                                                   ::
                               Defendants.         :
                                                   :

           INTERVENORS’ SUBMISSION PURSUANT TO PARAGRAPH 7
       OF THE DECEMBER 20, 2019 ORDER AND JOINDER IN DEFENDANTS’
                               SUBMISSION

       In its Order entered December 20, 2019 [ECF 136] (the “Order”), the Court directed the

parties to “address whether hearing testimony will be required from the lawyers who negotiated

the Agreement and subsequently monitored and addressed compliance questions.” (Order ¶ 7.)

The Court also directed the parties to “address whether testifying would disqualify those lawyers

and their firms from serving as counsel in these proceedings.” (Id.)
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          Intervenors the Philadelphia Board of Elections and the City of Philadelphia join in the

response filed by Defendants [ECF 148] and adopt Defendants’ response as if set forth fully

herein.

                                               Respectfully submitted,

                                               CITY OF PHILADELPHIA LAW DEPARTMENT
                                               Marcel S. Pratt, City Solicitor

Date: January 15, 2020                         By: /s/ Benjamin H. Field
                                               BENJAMIN H. FIELD (PA ID No. 204569)
                                               Divisional Deputy City Solicitor
                                               DANIELLE WALSH (PA ID No. 312438)
                                               Deputy City Solicitor
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                                                       Counsel for Intervenors




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                                    CERTIFICATE OF SERVICE


       I hereby certify that, on January 15, 2020, I served a true and correct copy of the

foregoing Submission Pursuant to Paragraph 7 of the December 20, 2019 Order and Joinder in

Defendants’ Submission upon all counsel of record via ECF system and the foregoing document

is available for viewing and/or downloading pursuant to the Court’s ECF system and is served

pursuant to FRCP Rule 5(b) and Local Civil Rule 5.1.2.




                                     BY:     /s/ Michael Pfautz
                                             Assistant City Solicitor
